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                  760-672-1325




                                          RESPONSE IN OPPOSITON TO
                                          MOTION TO DISMISS 7TH
                                          AMENDED COMPLAINT

                                          Date: 2/23/2022
                                          Time: 09:00AM
                                          Room: 4C
                                          Judge: HON JINSOOK OHTA
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1    INTRO
2    I’m a Pro Se Plaintiff with a mental disability. Having a disability doesn’t make me have less of a
3    reason to stand up for my rights. I try my very best to remain compliant with the Court’s rules and

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     when I’ve asked for help from Attorneys, the ones I’ve asked don’t offer the help I need unless
     they’re representing me, which I can’t afford as low income and a single parent.
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     WHY I’M HERE
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     I filed my Complaint because of the Defendants actions that violated my rights, caused my family
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     great harm and did so in a conspiring way. I’m also standing against them so that they won’t be
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     allowed to treat any other families like they did my family or possibly worse. I haven’t been to law
9    school and I’m not even sure I’m legal savvy, but I put forth my best effort. Those who are wronged
10   should be encouraged to stand up for their rights and not face more hardship when they do.
11   MY CASE & PRESENTING IT
12   My case if an odd case because no one would expect or believe that 4 ladies in such a position

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     would conspire in such a way as to intentionally target an undeserving family and treat them in
     such an inhumane way. But they did. I kept all of my documentation as proof and it was their
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     actions that demanded that I petition this Court for help in getting the relief we deserve and prevent
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     any further occurrences.
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     AS A PRO SE PLAINTIFF
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     As a Pro Se Plaintiff, I’m expected to follow the Courts rules and I try my best to present my case
18   this way. If I had gone to law school and passed the bar, I wouldn’t be writing this document. The
19   fact is I’m not an attorney and therefore I should be given some leniency and greater flexibility
20   with the standards for pleadings. McNeil v. U.S., 508 U.S. 106, 113 (1993) With a disability, it’s
21   even harder to focus on entering the testimony, relating it to any exhibits, organizing & ensuring

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     the specifics are complete on 5 Defendants, etc., while focusing on the many court rules that are
     vital to one’s case, and maintaining at least some sanity at the end of the day. But as a Pro Se
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     Plaintiff, I will undoubtably have limitations and not be proficient in every area, therefore I
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     shouldn’t be held to the same standards in re to the formal pleadings drafted by attorneys. Estelle
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     v. Gamble, 429 U.S. 97, 106 (1976) The guilty party shouldn’t be allowed to severely damage
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     anyone and get away with it because of the handicap or limitations of their victim(s). Because a
27   Federal Court has the ability to relax certain procedural rules in the ‘Interest of Justice’. Jones v.
28   Nicholson, No. 1:07-cv-16 (WLS), 2011 WL 2160918, at *3 (M.D. Ga. Jun. 1, 2011)


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1    The Defense’s whole reason for their Motion to Dismiss my 7th Amended Complaint, is because
2    they have no Answers, which they’ve proven, and because it’s their only hope of winning this case
3    as Guilty Defendants. I’ve proven that Judge Curiel purposely avoided the truth of my filing fee

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     payment of $400, in order to use the inactive Fee Waiver to discredit my service of documents on
     the Defendants in order to give them a clean slate. I’m certain he also denied my request to submit
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     my completed 7th Amended Complaint for the same purpose. Once he crossed that line, all of his
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     future choices would have to be done to benefit the side he showed favoritism towards. Therefore,
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     denying entry of my completed 7AC was a must. Undoubtably there’s more actions that were taken
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     against my case, but I’m too tired at this point, to seek them out. I was able to discover the one that
9    started the corruptive ball to rolling. Thankfully I’m not having to present this to the same Judge
10   who did it.
11   I have presented and built this case with the fullest degree of integrity possible for any human, and
12   my family deserves the proper closure, not the closure of regrets and anger towards a wrong being

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     done. We want to peacefully coexist after this long battle. I would appreciate a Judgment that
     weighs my case on its Merits. Most of all, I want the ones who hurt my family, to be taken from
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     the position where they can do it to anyone else. There should also be a review of their files and a
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     question of their past and current clients to discover the other families or individuals that they’ve
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     wronged also, and if you notice, I didn’t leave that as a possibility because I know of 2. They are
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     the ‘Cold Ones’ who walk among the countless ‘Warm Blooded Humans’ who exist.
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